                 Case 2:20-cv-00694-MJP Document 1 Filed 05/06/20 Page 1 of 46




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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
     AMAZON.COM, INC., a Delaware corporation,
 9
                                Plaintiff,                 No. 2:20-cv-694
10
            v.                                             COMPLAINT
11
     ROBOJAP TECHNOLOGIES LLC, a
12   Washington limited liability company;
     SANDEEP SINGH, an individual; QUATIC
13   SOFTWARE SOLUTIONS PVT. LTD., a
     foreign company; ANUJ SHARMA, an
14   individual; HITESH KUMAR SACHDEVA,
     an individual; SUKHMEET SINGH BAINS,
15   an individual; and GUREEN PAWAR, an
     individual,
16
                                Defendants.
17

18                                       I.     INTRODUCTION
19          1.       Amazon.com, Inc. is one of the most well-known and trusted companies in the
20   world. Defendants are a Washington company, Robojap Technologies, LLC (“Robojap”), an
21   Indian company, Quatic Software Solutions Pvt. Ltd. (“Quatic”), and each company’s principals.
22   Together, Defendants exploit Amazon’s brand to perpetrate a widespread tech support fraud that
23   targets users of Amazon’s popular Alexa devices, including Echo and Echo Dot smart speakers.
24   Defendants’ services have no affiliation with Amazon.
25          2.       Defendants’ scheme starts with websites and mobile applications that claim to
26   help Amazon’s customers setup their Alexa devices. Defendants use Amazon’s trademarks, as
27

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 1   well as false and misleading statements about Amazon and Defendants’ services, to divert

 2   victims from Amazon’s genuine activation process and customer support.

 3          3.       Defendants employ these fraudulent websites and applications in an effort to

 4   deceive victims by purportedly offering a download of Amazon’s Alexa app. When victims try

 5   to “download” the Alexa app, however, Defendants present them with an animation that fakes

 6   the download process, ending with an error message that prompts the victim to call Defendants

 7   for assistance. A copy of this fake error message is below:

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19          4.       When victims call Defendants, the Defendants take remote control of the victim’s

20   computer and, through a variety of deceptive means, attempt to convince the victim that

21   technical issues exist that prevent their Alexa device from working properly. Those claims are

22   also entirely false and fraudulent, and no such issues exist. Defendants then offer services to fix

23   these phony issues, charging customers hundreds of dollars to take the simple steps actually

24   required to activate an Alexa device that Amazon fully supports through its own customer care.

25          5.       Amazon works vigorously to earn and keep its customers’ trust, including

26   protecting customers from bad actors like Defendants. Amazon brings this lawsuit to stop

27   Defendants’ unlawful scheme, and to hold them accountable for the harm they have caused.

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                                                II.    PARTIES
 1
             6.       Amazon is a Delaware corporation with its principal place of business in Seattle,
 2
     Washington. Through its subsidiaries, Amazon owns and operates the Amazon.com website and
 3
     equivalent international websites. Amazon also creates and sells a variety of physical devices,
 4
     including smart speakers with Amazon’s virtual assistant, Alexa.
 5
             7.       Robojap Technologies, LLC is a Washington limited liability company with its
 6
     principal office located in Covington, Washington. Robojap’s listed office is Defendant Singh’s
 7
     residence. Robojap is directly liable to Amazon for the damages alleged in this Complaint
 8
     because of its direct participation in the alleged activities.
 9
             8.       Sandeep Singh (“Singh”) is an individual, who, on information and belief, resides
10
     in Covington, Washington. Singh is Robojap’s registered agent, and the company’s only
11
     publicly listed member. On information and belief, Singh is directly liable to Amazon for the
12
     damages alleged in this Complaint based on Singh’s personal participation in the alleged
13
     activities. Alternatively, Singh had the right and ability to supervise, direct, and control the
14
     wrongful conduct alleged in this Complaint, and derived a direct financial benefit from that
15
     wrongful conduct. As such, Singh is subject to liability for the wrongful conduct alleged herein
16
     under principles of secondary liability.
17
             9.       Quatic Software Solutions Pvt. Ltd. (“Quatic”) is an Indian company with its
18
     principal place of business in India. Quatic is directly liable to Amazon for the damages alleged
19
     in this Complaint because of its participation in the alleged activities.
20
             10.      Anuj Sharma (“Sharma”) is an individual, who, on information and belief, resides
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     in India. Sharma is a director of Quatic. On information and belief, Sharma is directly liable to
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     Amazon for the damages alleged in this Complaint based on Sharma’s personal participation in
23
     the alleged activities. Alternatively, Sharma had the right and ability to supervise, direct, and
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     control the wrongful conduct alleged in this Complaint, and derived a direct financial benefit
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     from that wrongful conduct. As such, Sharma is subject to liability for the wrongful conduct
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     alleged herein under principles of secondary liability.
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 1          11.      Hitesh Kumar Sachdeva (“Sachdeva”) is an individual, who, on information and

 2   belief, resides in India. Sachdeva is a director of Quatic. On information and belief, Sachdeva is

 3   directly liable to Amazon for the damages alleged in this Complaint based on Sachdeva’s

 4   personal participation in the alleged activities. Alternatively, Sachdeva had the right and ability

 5   to supervise, direct, and control the wrongful conduct alleged in this Complaint, and derived a

 6   direct financial benefit from that wrongful conduct. As such, Sachdeva is subject to liability for

 7   the wrongful conduct alleged herein under principles of secondary liability.

 8          12.      Sukhmeet Singh Bains (“Bains”) is an individual, who, on information and belief,

 9   resides in India. Bains is a director of Quatic. On information and belief, Bains is directly liable

10   to Amazon for the damages alleged in this Complaint based on Bains’s personal participation in

11   the alleged activities. Alternatively, Bains had the right and ability to supervise, direct, and

12   control the wrongful conduct alleged in this Complaint, and derived a direct financial benefit

13   from that wrongful conduct. As such, Bains is subject to liability for the wrongful conduct

14   alleged herein under principles of secondary liability.

15          13.      Gureen Pawar (“Pawar”) is an individual who, on information and belief, resides

16   in India. Pawar is a director of Quatic. On information and belief, Pawar is directly liable to

17   Amazon for the damages alleged in this Complaint based on Pawar’s personal participation in

18   the alleged activities. Alternatively, Pawar had the right and ability to supervise, direct, and

19   control the wrongful conduct alleged in this Complaint, and derived a direct financial benefit

20   from that wrongful conduct. As such, Pawar is subject to liability for the wrongful conduct

21   alleged herein under principles of secondary liability.

22                                III.    JURISDICTION AND VENUE
23          14.      The Court has subject matter jurisdiction over Amazon’s claims for trademark
24   infringement (15 U.S.C. § 1114), violations of Section 43(a) of the Lanham Act (15 U.S.C. §
25   1125(a)), trademark dilution (15 U.S.C. § 1125(c)), and cybersquatting (15 U.S.C. § 1125(d))
26   pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a).
27

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 1          15.      The Court has personal jurisdiction over Robojap and Singh because they reside

 2   in this District. The Court has personal jurisdiction over the other Defendants because they

 3   reached out and did business with residents of this District (Robojap and Singh). Further, all

 4   Defendants transacted business and committed tortious acts within and directed to this District,

 5   and Amazon’s claims arise from those activities. On information and belief, Defendants’

 6   scheme targeted people in this District, Defendants’ websites actively solicit interaction from

 7   victims in this District, and Defendants harmed Amazon, which resides in this District.

 8          16.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a

 9   substantial part of the events giving rise to the claims occurred in the District, or 28 U.S.C. §

10   1391(c) because at least one defendant resides in this District.

11          17.      Pursuant to Local Civil Rule 3(e), intra-district assignment to the Seattle Division

12   is proper because it is the Division where: (a) multiple defendants reside; (b) one defendant has

13   its principal place of business; and (c) a substantial part of the events or omissions that give rise

14   to the claim occurred.

15                                              IV.     FACTS
16          A.       Amazon and Its Alexa Smart Speakers
17          18.      Amazon is a highly trusted brand. One of Amazon’s most popular products is its
18   digital assistant called Alexa, which offers users tens of thousands of skills, including playing
19   music, making phone calls, and delivering the news.
20          19.      Alexa is built into numerous devices offered by Amazon and by numerous third
21   parties. Many of these products are smart home devices, such as lights, thermostats, door locks,
22   and appliances. Among other things, Alexa allows users to control these smart home devices
23   either through voice control or through other Alexa-enabled devices.
24          20.      Echo, and its smaller sibling, Echo Dot, are popular smart speakers made by
25   Amazon that come with Alexa. The speakers allow users to interact with Alexa and control
26   other Alexa-compatible devices.
27

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 1          21.      Echo and Echo Dot come with instructions on how to activate the product and

 2   begin using its features. Generally, users must download the Amazon Alexa app, which is

 3   available for iOS and Android devices. The Amazon Alexa app is developed by Amazon and is

 4   available to download for free. Once downloaded, the Amazon Alexa app guides users through

 5   the setup process. There is no fee to activate an Echo or Echo Dot, and no paid subscription is

 6   required.

 7          22.      Amazon offers robust customer support for Echo and Echo Dot users—free of

 8   charge. Amazon’s website contains instructions, troubleshooting pages, video tutorials, and

 9   answers to common questions. Should a user require additional support, he or she may contact

10   an Amazon customer service representative by phone or through online chat (among other

11   methods).

12          23.      Amazon exclusively owns numerous U.S. trademark registrations and pending

13   applications. These trademarks are a critical component of consumers’ ability to readily identify

14   Amazon products and services—including genuine Alexa-compatible devices and services.

15          24.      As alleged in this Complaint, the following trademarks and service marks

16   (collectively “Amazon Trademarks”) were unlawfully used to further Defendants’ scheme:

17                             Mark                 Registration No. (International
                                                               Classes)
18
                                                  2,657,226 (Int. Cl. 42)
19                           AMAZON               2,738,837 (Int. Cl. 38)
                                                  2,738,838 (Int. Cl. 39)
20
                                                  2,832,943 (Int. Cl. 35)
21                                                2,857,590 (Int. Cl. 9)
                                                  3,868,195 (Int. Cl. 45)
22                                                4,171,964 (Int. Cl. 9)
                                                  4,533,716 (Int. Cl. 2)
23                                                4,656,529 (Int. Cl. 18)
                                                  4,907,371 (Int. Cls. 35, 41, 42)
24
                                                  5,102,687 (Int. Cl. 18)
25                                                5,281,455 (Int. Cl. 36)

26                                                2,078,496 (Int. Cl. 42)
                          AMAZON.COM              2,167,345 (Int. Cl. 35)
27

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                                                   2,559,936 (Int. Cl. 35, 36, 42)
 1                                                 2,633,281 (Int. Cl. 38)
 2                                                 2,837,138 (Int. Cl. 35)
                                                   2,903,561 (Int. Cls. 18, 28)
 3                                                 3,411,872 (Int. Cl. 36)
                                                   4,608,470 (Int. Cl. 45)
 4
                                                   4,171,965 (Int. Cl. 9)
 5
                                                   5,038,752 (Int. Cl. 25)
 6

 7                                                 2,684,128 (Int. Cl. 38)
                                                   2,696,140 (Int. Cl. 42)
 8
                                                   2,789,101 (Int. Cl. 35)
 9                                                 2,884,547 (Int. Cl. 39)
                                                   2,970,898 (Int. Cl. 41)
10                                                 3,414,814 (Int. Cl. 36)
11                                                 5,563,417 (Int. Cls. 9, 35, 36, 39, 41,
                              ALEXA                42, 43, 44, 45)
12
                                                   5,880,382 (Int. Cls. 9, 37, 41, 42)
13                                                 2,181,470 (Int. Cl. 42)
                                                   2,189,928 (Int. Cl. 9)
14
                                                   5,470,187 (Int. Cls. 9, 42)
15                            ECHO                 5,469,992 (Int. Cls. 9, 38, 41, 42)
16

17                                                 5,413,055 (Int. Cls. 35, 36, 39, 41,
                                                   43, 44, 45)
18                                                 5,682,947 (Int. Cls. 9, 42)
19
20          25.      The Amazon Trademarks have been used exclusively and continuously by

21   Amazon, and have never been abandoned. The above U.S. registrations for the Amazon

22   Trademarks are valid, subsisting, in full force and effect, and many are incontestable pursuant to

23   15 U.S.C. § 1065. The registrations for the Amazon Trademarks constitute prima facie evidence

24   of their validity and of Amazon’s exclusive right to use the Amazon Trademarks pursuant to

25   15 U.S.C. § 1057(b).

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                B.      Tech Support Scams
 1
                26.     Tech support scams victimize hundreds of thousands of people every year.1
 2
     These schemes disproportionately affects vulnerable populations, such as the elderly.
 3
                27.     Bad actors target victims through a variety of means, including online
 4
     advertisements that render pop-ups, paid search results, websites, and mobile applications. The
 5
     purpose of each is to prompt victims to call a toll-free number that connects them to the bad
 6
     actors.
 7
                28.     Once connected, the bad actors typically gain remote access to victims’
 8
     computers. With the remote access, the bad actors deceive victims into believing their devices
 9
     have dangerous technical issues, such as being infected with malicious viruses, in order to sell
10
     unneeded services to solve the nonexistent issues.
11
                29.     Traditionally, tech support schemes have focused on vulnerabilities in a
12
     computer’s operating system or other software as the material misrepresentations made to
13
     victims in order to sell fraudulent services.
14
                30.     Given the rise of connected devices beyond traditional computers—such as Alexa
15
     devices—bad actors now target potential victims seeking assistance with these devices. Among
16
     other things, the bad actors seek to divert victims from contacting the genuine customer support
17
     numbers and instead cause unsuspecting victims to pay the bad actors for unnecessary services to
18
     perform basic tasks like connecting the devices. During this process, the bad actors make a
19
     variety of false statements about the device, its security, and the genuine company.
20
                C.      Defendants Deceive People Into Purchasing Unnecessary Tech Support
21                      Services for Amazon Alexa Devices
22              31.     Defendants run an international tech support fraud scheme with operations in the
23   U.S. and India. Defendants recruit victims through multiple websites and mobile applications
24   that purport to offer genuine services to help users connect Amazon Alexa devices. Defendants
25   use these websites and applications to divert victims from Amazon’s genuine website and Alexa
26
27   1
         https://www.consumer.ftc.gov/blog/2019/03/ftcs-tech-support-takedown-2019.

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 1   app, and then to deceive victims into believing an issue exists with their Alexa device—when no

 2   such issue exists. Defendants then prey on these victims to sell them “services” for hundreds of

 3   dollars in order to “fix” the issue. Defendants’ services are unnecessary and harm innocent

 4   victims.

 5                   1.     Robojap and Quatic
 6          32.      Defendant Singh owns and operates Robojap, which lists its business address as

 7   Singh’s residence in Covington, Washington.

 8          33.      Robojap operates the website robojaptechnologies.com. The website represents

 9   that Robojap provides technical support services, and that they specialize in “smart home

10   technical support.” Among other things, the company states that it “is the only company that

11   focused solely on 24/7 management and backend support of smart home devices.” The company

12   also makes numerous representations about the scale of their support operation (e.g., “over 3.5

13   million issues resolved”), which, on information and belief, are false. A partial screenshot of this

14   website is below

15          [Image on the following page]

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               Case 2:20-cv-00694-MJP Document 1 Filed 05/06/20 Page 10 of 46




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              34.   Quatic’s operation is located in Punjab, India. Quatic is owned by four
13
     individuals: Defendants Sharma, Sachdeva, Pawar, and Bains. Quatic operates a website at
14
     quaticsoft.com, which Defendants registered through Namecheap, Inc. on March 22, 2017. The
15
     website describes Quatic as providing web design, digital marketing, and tech support services
16
     for a smart automation system.
17
              35.   Quatic operates a second website at the domain quatic-software-
18
     solutions.business.site. The website was built using Google’s free website builder. One of
19
     Quatic’s directors, Defendant Sachdeva, goes by the name “Happy.” Posts on the website
20
     quatic-software-solutions.business.site were made by “happy sachdeva.”
21
              36.   Quatic’s website also states that “Quatic Software solution Pvt. Ltd. is managed
22
     by US based Robojap technologies LLC Seattle WA, USA.” A screenshot of this statement is
23
     below:
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     COMPLAINT - 10                                                              Davis Wright Tremaine LLP
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 7              37.     The individual Defendants share social media connections. For example,
 8   Defendant Singh is Facebook friends with Sachdeva and Pawar.
 9              38.     On information and belief, Defendants employ between 15 and 20 people to work
10   in their call center in India. Defendants operate night shifts in India, which is daytime in the
11   United States, in order to better target victims in the United States.
12              39.     Victims have lodged numerous public complaints against Robojap for tech
13   support fraud. For example, Robojap has an “F” rating from the Better Business Bureau, which
14   received a number of complaints against the company, including for fraudulent tech support
15   services involving Alexa devices. As another example, a complaint on scampulse.com starts “I
16   feel I was misrepresented by your company. I believed I was communicating with someone
17   from Amazon with reference to help in setting up my Alexa.”2
18              40.     Amazon has also received a number of complaints about Robojap misleading
19   victims into believing they are affiliated with Amazon, and selling them unwanted services.
20                      2.       Defendants Target Victims Seeking Help with Amazon Alexa Devices
21              41.     Defendants use both websites and mobile applications to deceive victims into
22   contacting their call centers. Among other tactics, Defendants use the Amazon Trademarks and
23   false statements about their affiliation with Amazon. Defendants also use a phony download
24   process to trick people into believing an issue exists with the Alexa app—when no issue exists.
25
26

27   2
         https://www.scampulse.com/robojap-technologies-llc-reviews.

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                              a.       Defendants Use Websites to Target Victims
 1
             42.      Defendants registered Robojaptechnologies.com with the registrar Namecheap,
 2
     Inc. on May 26, 2016—the same day Robojap was formed. The Defendants host the website
 3
     with Namecheap through IP address 198.54.123.190. Over twenty other domains are hosted
 4
     through this IP address, and on information and belief, Defendants also control these domains.
 5
             43.      A number of the other domains hosted through Defendants’ account at
 6
     Namecheap are websites that purport to offer tech support services for Alexa devices and smart
 7
     speakers, such as hometosmarthome.com, smartspeakerskills.net, smartvoicedevices.com,
 8
     thesmartspeakerapp.com, thesmartspeakersetup.com, smartskillapp.com, smartspeakerskills.net,
 9
     and techfixo.com.3
10
             44.      Defendants also registered and use domains that contain the Amazon Trademarks.
11
     Defendants have a core domain that uses the Amazon Trademarks (echoalexaskill.com), and
12
     three subdomains that use the Amazon Trademarks (echoalexa.techfixo.com,
13
     echoshow.techfixo.com, alexa-app.cloudtechnologiesllc.us). Screenshots of the homepages of
14
     the first three aforementioned websites are attached as Exhibits A – C.
15
             45.      The website echoalexa.techfixo.com uses Amazon’s brand to advertise tech
16
     support services targeting Alexa users. A screenshot of the website is below:
17
             [Image on the following page]
18

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      Other websites on Defendants’ Namecheap account appear to offer non-Alexa targeted tech support services, such
27   as wowcomputerhelp.com.

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            46.    The website echoshow.techfixo.com also uses Amazon’s brand to advertise tech
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     support services targeting Alexa users. A screenshot of the website is below:
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            47.    Another website hosted through Defendants’ account at Namecheap is Quatic’s
25
     website (quaticsoft.com).
26

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 1          48.     One of Defendant Sachdeva’s email addresses, happy_sachdeva@yahoo.com, is

 2   connected through public sources with the website thesmartspeakerapp.com, which is also hosted

 3   through Defendants’ Namecheap account.

 4                         b.      Defendants Use Apps to Target Victims
 5          49.     In addition to the websites Defendants operate, they also design and distribute

 6   mobile apps that use Amazon’s brand to deceive victims attempting to activate Echo devices.

 7          50.     Defendants distribute multiple apps on the Google Play store using the developer

 8   name “Smart Home Expert.” One email address connected to Defendants’ account with Google

 9   is quaticsoft@gmail.com. The name on the account for this email is “Hitesh Kumar,” which is a

10   variation of Defendant Sachdeva’s name. Another email address used by “Smart Home Expert”

11   is support@smartvoicedevices.com, which uses a domain hosted by Defendants’ account at

12   Namecheap (the same account that hosts websites like robojaptechnologies.com).

13          51.     Through their “Smart Home Expert” account with Google, Defendants distributed

14   the apps “Setup Guide for Echo” and “Echo Setup Instructions & Guide.”

15          52.     In the description for Defendants’ app “Setup Guide for Echo,” Defendants state:

16   “Download the Smart Speaker Setup now on your Android or iOS phone to setup Alexa-enabled

17   devices like Echo, Echo Plus, Echo Dot, Echo Spot, Echo Sub, Echo Show, Echo Input, and

18   Tap.” Defendants also described the app a “one-stop solution to connect all Echo devices.”

19   Partial screenshots of these pages are below:

20          [Images on the following page]

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 1          53.     Defendants also use the developer name “Smart Home Services” to distribute

 2   apps on the Google Play store. The email address used on the account is

 3   appleads304@gmail.com. This email account was accessed from IP addresses 122.173.63.111

 4   and 112.196.109.2 (among others), which were both used to access the account

 5   quaticsoft@gmail.com. Both appleads304@gmail.com and quaticsoft@gmail.com used the

 6   same phone number “918708191152,” which public records connect to Defendant Sachdeva.

 7          54.     One of the apps Defendants distributed using the name “Smart Home Services”

 8   was “Guide to setup echo.” Among other things, the app purported to “help you setup your

 9   smart speaker like alexa enabled, etc.” Partial screenshots of the description pages for this app

10   are below:

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     COMPLAINT - 16                                                                Davis Wright Tremaine LLP
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            55.     None of Defendants’ apps were approved by or affiliated with Amazon, and they
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     had no right to use Amazon’s brand to market their services.
16
                            c.     Defendants’ Websites and Apps Falsely Tell Victims an Error
17                                 Occurred with their Alexa Device
18          56.     The purpose of Defendants’ websites and apps is to cause victims to contact

19   Defendants’ call center, which allows Defendants to sell victims unnecessary services.

20          57.     Defendants prompt victims to call them by displaying phony error messages that

21   claim an error occurred with the victim’s Alexa device.

22          58.     For example, Defendants’ apps “Setup Guide for Echo” and “Guide to setup

23   echo” both purportedly assist victims with setting up their Alexa devices. However, when

24   victims attempt to use the apps to setup their devices, they are presented with an error code.

25   Partial screenshots of the error message from both apps are below:

26          [Images on the following page]

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 1                Setup Guide for Echo                              Guide to setup echo

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            59.     Despite Defendants’ representations to the contrary, these apps do not have the
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     functionality to setup an Alexa device. Although the app states it is “find[ing] your device,” the
17
     apps are not “finding” Alexa devices. The error code will always display as it results from an
18
     animation Defendants use in the app. Defendants designed the apps to show this message each
19
     time a victim attempts to use them.
20
            60.     Like the apps, Defendants’ websites use a similar tactic to deceive users into
21
     contacting Defendants’ call center. For example, Defendants operate the websites
22
     echoalexa.techfixo.com and echoshow.techfixo.com. Both websites contain a link where victims
23
     can download the “Alexa App,” as shown in the following screenshots:
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            [Images on the following page]
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 1                                       echoalexa.techfixo.com

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 6                                       echoshow.techfixo.com

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            61.     Defendants falsely represent to victims that they are offering the genuine Amazon
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     Alexa app, including using Amazon’s trademarks to further the deception. For example, on the
11
     website echoshow.techfixo.com, Defendants refer to themselves as the “Amazon Alexa App
12
     support team” and claim victims can download the “Alexa app.” As another example, below is a
13
     partial screenshot from the page victims see when they click “Download Alexa App” on
14
     echoalexa.techfixo.com, including a header stating “Steps to download Amazon Alexa app”:
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25          62.     When a victim attempts to download the “Alexa app” from Defendants’ websites,

26   vicitms see an animation on the website that is designed to appear like the app is downloading.

27   No actual download occurs. Instead, after a few seconds, the animation results in an error

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 1   message similar to the ones presented through Defendants’ apps. Partial screenshots of these

 2   error messages are below:

 3                                      echoalexa.techfixo.com

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                                        echoshow.techfixo.com
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            63.    Defendants’ misrepresentations are particularly harmful because they are
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     designed to appear like Amazon’s genuine setup process for Alexa devices. To setup a device,
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     users download Amazon’s Alexa app, and follow the setup instructions. Defendants target
27

     COMPLAINT - 20                                                             Davis Wright Tremaine LLP
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 1   victims by diverting them from Amazon’s genuine app to websites and apps from which victims

 2   cannot actually install Alexa devices.

 3                  3.      Defendants’ Sale of Fraudulent Tech Support Services
 4          64.     The purpose of Defendants’ websites and apps is to deceive victims into calling

 5   the Defendants’ toll-free number. Once victims call the number, Defendants continue to falsely

 6   claim that there is an issue with the victims’ Alexa device, and attempt to sell victims

 7   unnecessary services. An investigator working for Amazon contacted Defendants and was twice

 8   sold unnecessary services after being falsely told issues existed with his Echo Dot. Despite

 9   Defendant’s extensive use of the Amazon Trademarks and false or misleading statements about

10   Defendants’ connection to Amazon, Defendants’ services do not originate with, are not

11   sponsored or approved by, and are not otherwise affiliated with, Amazon.

12                          a.     First Test Purchase
13          65.     On December 10, 2019, an investigator initiated an online chat on Defendants’

14   website, robojaptechnologies.com. The investigator requested help with his Echo Dot, and told

15   Defendants it was simply “not working.”

16          66.     One of Defendants’ agents responded by directing the investigator to a remote

17   access service via fastsupport.gotoassist.com/811201526. The service is operated by a U.S.

18   company called LogMeIn, Inc. The technician used the name “Victor Jones” to connect to the

19   investigator’s computer.

20          67.     The technician asked for the investigator’s name and number, and then called the

21   investigator from 888-440-5666 (which public records indicates is controlled by a U.S company

22   named Thinq, Inc.). On the phone call, the technician instructed the investigator to connect the

23   Alexa Dot to a power outlet. The technician then said, “I am going to download Alexa app onto

24   your computer in order to set it up.”

25          68.     The technician navigated to the website smartdotsupport.com/alexa-app-

26   windows/. This website is hosted through Defendants’ account at Namecheap (which hosts

27   websites like robojaptechnologies.com). Defendant Sachdeva’s email address,

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 1   hitesh@quaticsoft.com, is also connected through public sources to this website. Below is a

 2   partial screenshot of the website’s homepage:

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14          69.    The technician clicked on the Windows download button, which caused a window
15   to pop-up that purportedly indicated a download was in progress. A screenshot of this download
16   image is below:
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     COMPLAINT - 22                                                             Davis Wright Tremaine LLP
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 1          70.     The website does not download anything. The screen just presents an animation

 2   to deceive the victim into believing the Alexa app is downloading.

 3          71.     After a few seconds, the animation ends in an error message, a screenshot of

 4   which is below:

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            72.     After presenting the investigator with the phony error message above, the
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     technician represented there was a security problem with the computer. The technician opened
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     the command function, and prompted a simple directory search. The perpetrator stated this task
18
     would identify the problem. At the conclusion of the search, the perpetrator wrote at the bottom
19
     of the dialogue box: “Foreign Address Detected . . . IP is not secure . . . Unable to connect
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     Alexa.” A screenshot of this message is below:
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     COMPLAINT - 23                                                                Davis Wright Tremaine LLP
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 1          73.     Defendants’ representations were false. The command function they used could

 2   not identify any problem with the investigator’s Alexa device. Further, no issues existed with

 3   the investigator’s Alexa device, and no issue prevented the device from being connected.

 4          74.     After telling the investigator there was an issue with his device, the technician

 5   offered to sell the investigator a protection plan that would solve the issue. When the

 6   investigator hesitated to purchase the services, the technician disconnected the call.

 7          75.     Ten minutes later, the investigator called the technician back at 888-440-5666. A

 8   different technician answered and identified himself as “Max.” The investigator stated that

 9   Victor had offered services for $150, and he wanted to purchase them.

10          76.     The technician reconnected to the investigator’s computer through LogMeIn.

11   After connecting, the technician navigated to quickclick.com to process the payment for the

12   transaction. Quickclick.com is hosted through 104.192.33.48, which is a dedicated server

13   connected to Gateway Processing Services—a U.S.-based payment processor.

14          77.     The investigator provided his payment information to Defendants in order to

15   purchase services for $150 that were supposed to protect his devices and solve the Alexa-device

16   issue identified by the technician.

17          78.     The investigator received a confirmation email from

18   support@robojaptechnologies.com. The receipt listed the merchant as Robojap Technologies,

19   LLC.

20          79.     After the purchase was completed, the payment website (quickclick.com)

21   redirected to the website smarthomes.support. This website stated: “Thank you for subscribing

22   services with Robojap Technologies, LLC.” A partial screenshot of this website is below:

23          [Image on the following page]

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                80.     Smarthomes.support was registered with Namecheap on November 23, 2017, and
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     is hosted through Defendants’ account at Namecheap. Publicly available information associates
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     one of Defendant Sachdeva’s email addresses (happy_sachdeva@yahoo.com) with the website.
14
     Based on public records, the phone numbers listed on the website are owned by Telengy, LLC,
15
     which is a U.S.-based company.
16
                81.     The technician then helped the investigator execute an agreement with Robojap
17
     Technologies. First, the technician created a Gmail account for the investigator. Second, the
18
     technician transferred the investigator back to Victor by going to another remote access link at
19
     fastsupport.gotoassist.com/598865832. The technician then disconnected the call. A few
20
     minutes later, the investigator received a call from 866-269-9419, from a different person who
21
     identified himself as “Victor” of “the support team.”
22
                82.     The technician then opened an email from Docusign (a U.S. company) that
23
     contained a contract with the perpetrators. The subject of the email was “Please Docusign: $
24
     contract for Robojap technologies llc.docx.” The Docusign agreement used the email address
25
     agreemntsofcloudtechnologies@gmail.com.4 The technician scrolled through the agreement,
26

27   4
         A website for cloudtechnologiesllc.com is hosted through Defendants’ Namecheap account.

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 1   entered values, and signed for the investigator. The investigator received the completed

 2   agreement via email. The title of the agreement is “Robojap Technologies LLC, User Service

 3   Agreement.”

 4          83.     After the agreement was completed, the technician installed a Chrome extension

 5   called Geek Shield Pro. Among other things, this extension falsely purports to provide a

 6   firewall. In the firewall section of the extension, an animation shows that the firewall is off. The

 7   animation then shows a loading power button that turns green and then states the firewall is on.

 8   The extension does not create a firewall. A screenshot of this button is below:

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19          84.     The developer page on the Google Play store for this app lists the contact address

20   as support@geekshields.com. The domain used for this email address is hosted through

21   Defendants’ account at Namecheap.

22          85.     After the installation of the phony firewall, the technician created a genuine Alexa

23   account for the investigator, and connected the investigator’s Echo Dot. Nothing prevented the

24   technician from taking these steps when the investigator first contacted Defendants and before

25   selling the investigator unnecessary services.

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     COMPLAINT - 26                                                                Davis Wright Tremaine LLP
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                            b.      Second Test Purchase
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               86.   On December 16, 2019, the investigator called Robojap at 877-781-3080, the
 2
     number listed on Robojap’s website. Defendants’ agent, a person who later identified himself as
 3
     “Harold,” answered the call. The investigator asked for help setting up an Amazon Alexa
 4
     device.
 5
               87.   The technician requested remote access to the investigator’s computer through
 6
     LogMeIn. Once the technician gained access, he took the investigator to the same website as in
 7
     the first test purchase, smartdotsupport.com.
 8
               88.   The technician walked the investigator through the same exercise as the first
 9
     purchase, including attempting to “download” the Alexa app through the website. As with the
10
     first test purchase, no actual program downloaded. The screen shown to the investigator was
11
     merely an animation to deceive victims into believing the technician is attempting a download.
12
               89.   After a few seconds, the website stated that there was an error in the download
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     process, a partial screenshot of which is below:
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     COMPLAINT - 27                                                                Davis Wright Tremaine LLP
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 1          90.     With this error message on the screen, the technician told the investigator that the

 2   computer lacked the proper “protections,” and that “bad things” were happening on the

 3   investigator’s device.

 4          91.     The technician opened a program on the investigator’s computer called Notepad

 5   and wrote: “Alexa failed to download,” the investigator had “unsecure devices,” and the

 6   investigator’s “[n]etwork access protection is out of date please install and renew.” These

 7   statements are false. A screenshot of this message is below:

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            92.     The technician offered to sell the investigator certain “lifetime” services for $150
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     to fix these issues. A screenshot of this offer, as written by the technician, is below:
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     COMPLAINT - 28                                                                  Davis Wright Tremaine LLP
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 1          93.       During the purchase, the technician provided a contact phone number of 866-269-

 2   9419 for the investigator to call back. This was the same number Defendants used in the first

 3   test purchase.

 4          94.       When the investigator agreed to purchase the services, the technician took the

 5   investigator to quickclick.com to complete the transaction—the same website used in the first

 6   test purchase. The first attempt at charging the card failed. The perpetrator hung up while the

 7   investigator “called the bank,” but then called back from 888-440-5666—a number also used in

 8   the first test puchase. Defendants again tried to run the investigator’s payment card, but it did

 9   not go through.

10                                      V.      CAUSES OF ACTION
11                                      FIRST CAUSE OF ACTION
12                              Trademark Infringement (15 U.S.C. § 1114)
13          95.       Amazon incorporates by reference the factual allegations contained in Sections I–
14   IV as though set forth herein.
15          96.       Defendants’ activities infringe the Amazon Trademarks.
16          97.       Amazon advertises, markets, and distributes its products and services using the
17   Amazon Trademarks, and uses these trademarks to distinguish its products and services from the
18   products and services of others in the same or related fields.
19          98.       Because of Amazon’s long, continuous, and exclusive use of the Amazon
20   Trademarks, they have come to mean, and are understood by customers, users, and the public to
21   signify, products and services from Amazon.
22          99.       Defendants’ websites use the Amazon Trademarks in commerce in a manner that
23   is intended to cause confusion, mistake, or deception as to source, origin, or authenticity of
24   Defendants’ website.
25          100.      Further, Defendants’ activities are likely to lead the public to conclude,
26   incorrectly, that Defendants’ websites and product offerings originate with or are authorized by
27

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 1   Amazon, thereby harming Amazon and innocent victims.

 2          101.    At a minimum, Defendants acted with willful blindness to, or in reckless

 3   disregard of, their lack of authority to use the Amazon Trademarks and the confusion that the use

 4   of those trademarks had on consumers as to the source, sponsorship, affiliation, or approval by

 5   Amazon of Defendants’ websites and products.

 6          102.    Defendants are subject to liability, jointly and severally, for the wrongful conduct

 7   alleged herein, both directly and under various principles of secondary liability, including

 8   without limitation, respondeat superior, vicarious liability, and/or contributory infringement.

 9          103.    As a result of Defendants’ wrongful conduct, Amazon is entitled to recover its

10   actual damages, Defendants’ profits attributable to the infringement, and treble damages and

11   attorney fees pursuant to 15 U.S.C. § 1117(a)–(b). The amount of money due from Defendants

12   to Amazon is unknown to Amazon and cannot be ascertained without a detailed accounting by

13   Defendants. Alternatively, Amazon is entitled to statutory damages under 15 U.S.C. § 1117(c).

14          104.    Amazon is further entitled to injunctive relief, as set forth in the Prayer for Relief

15   below. Amazon has no adequate remedy at law for Defendants’ wrongful conduct because,

16   among other things: (a) the Amazon Trademarks are unique and valuable property; (b) in

17   addition to the significant harm that Defendants have caused to innocent customers, Defendants’

18   infringement constitutes harm to Amazon’s reputation and goodwill such that Amazon could not

19   be made whole by any monetary award; (c) if Defendants’ wrongful conduct is allowed to

20   continue, the public is likely to become further confused, mistaken, or deceived as to the source,

21   origin, or authenticity of the infringing websites; and (d) Defendants’ wrongful conduct, and the

22   resulting harm to Amazon, is continuing.

23                                    SECOND CAUSE OF ACTION
24    False Designation of Origin, Sponsorship, Approval, or Association and False Advertising
                                        (15 U.S.C. § 1125(a))
25
            105.    Amazon incorporates by reference the factual allegations contained in Sections I–
26
     IV as though set forth herein.
27

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 1          106.    Amazon advertises, markets, and distributes its products and services using the

 2   Amazon Trademarks, and it uses these trademarks to distinguish its products and services from

 3   the products and services of others in the same or related fields.

 4          107.    Because of Amazon’s long, continuous, and exclusive use of the Amazon

 5   Trademarks, they have come to mean, and are understood by customers, end users, and the

 6   public to signify products and services from Amazon.

 7          108.    Amazon has also designed distinctive and aesthetically pleasing displays, logos,

 8   icons, and graphic images (collectively, “Amazon designs”) for its websites.

 9          109.    Defendants’ wrongful conduct includes the use of the Amazon Trademarks,

10   Amazon’s name, and/or imitation designs (specifically displays, logos, icons, and/or graphic

11   designs virtually indistinguishable from the Amazon designs), and false statements regarding

12   Amazon and its products or services in connection with Defendants’ commercial advertising or

13   promotion.

14          110.    Defendants have used, and continue to use, the Amazon Trademarks, Amazon’s

15   name, and/or imitation designs to deceive customers. On information and belief, Defendants’

16   wrongful conduct misleads and confuses their users and the public as to the origin and

17   authenticity of the goods and services advertised, marketed, offered or distributed in connection

18   with Amazon’s trademarks, name, and imitation visual designs, and wrongfully trades upon

19   Amazon’s goodwill and business reputation.

20          111.    Defendants’ acts constitute willful false statements in connection with goods

21   and/or services distributed in interstate commerce, in violation of 15 U.S.C. § 1125(a).

22          112.    Defendants are subject to liability for the wrongful conduct alleged herein, both

23   directly and under various principles of secondary liability, including without limitation,

24   respondeat superior, vicarious liability, and/or contributory infringement.

25          113.    Amazon is further entitled to injunctive relief, as set forth in the Prayer for Relief

26   below. Defendants’ acts have caused irreparable injury to Amazon. The injury to Amazon is

27   and continues to be ongoing and irreparable. An award of monetary damages cannot fully

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 1   compensate Amazon for its injuries, and Amazon lacks an adequate remedy at law.

 2          114.    As a result of Defendants’ wrongful conduct, Amazon is entitled to recover its

 3   actual damages, Defendants’ profits, and treble damages and attorney fees pursuant to 15 U.S.C.

 4   § 1117(a)–(b). The amount of money due from Defendants to Amazon is unknown to Amazon

 5   and cannot be ascertained without a detailed accounting by Defendants.

 6                                    THIRD CAUSE OF ACTION

 7                               Trademark Dilution (15 U.S.C. § 1125(c))

 8          115.    Amazon incorporates by reference the factual allegations contained in Sections I–

 9   IV as though set forth herein.

10          116.    Amazon has exclusively and continuously promoted and used the Amazon

11   Trademarks. As one of the world’s most well-known technology companies, the Amazon

12   Trademarks have become famous, distinctive, and well-known symbols of Amazon—well before

13   Defendants began using the Amazon Trademarks in association with their goods or services

14   unaffiliated with Amazon.

15          117.    The actions of Defendants including, but not limited to, their unauthorized use of

16   the described Amazon Trademarks in commerce to deceive users into believing Defendants’

17   websites, apps, and services are affiliated with Amazon are likely to cause dilution of the

18   Amazon Trademarks by blurring and tarnishment in violation of 15 U.S.C. § 1125(c).

19          118.    As a result of Defendants’ willful conduct, Amazon is entitled to recover its actual

20   damages, Defendants’ profits, and treble damages and attorney fees pursuant to 15 U.S.C. §

21   1117(a).

22          119.    Amazon is further entitled to injunctive relief, as set forth in the Prayer for Relief

23   below. In addition to the significant harm that Defendants have caused to innocent customers,

24   Defendants’ acts have caused irreparable injury to Amazon. The injury to Amazon is and

25   continues to be ongoing and irreparable. An award of monetary damages cannot fully

26   compensate Amazon for its injuries, and Amazon lacks an adequate remedy at law.

27

     COMPLAINT - 32                                                                  Davis Wright Tremaine LLP
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     (2:20-cv-694)                                                                      920 Fifth Avenue, Suite 3300
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              Case 2:20-cv-00694-MJP Document 1 Filed 05/06/20 Page 33 of 46



                                      FOURTH CAUSE OF ACTION
 1
                                   Cybersquatting (15 U.S.C. § 1125(d))
 2
            120.    Amazon incorporates by reference the factual allegations contained in Sections I–
 3
     IV as though set forth herein.
 4
            121.    Amazon has exclusively and continuously promoted and used the Amazon
 5
     Trademarks. As one of the world’s most well-known technology companies, the Amazon
 6
     Trademarks have become famous, distinctive, and well-known symbols of Amazon—well before
 7
     any of the Defendants registered the domain echoalexaskill.com.
 8
            122.    Defendants registered and used the domain echoalexaskill.com with a bad faith
 9
     intent to profit from the Amazon Trademarks based on a number of factors, including the fact
10
     that the domain is used in furtherance of a scheme to defraud consumers by deceiving them into
11
     believing Defendants’ domains are affiliated with Amazon.
12
            123.    The domain echoalexaskill.com is confusingly similar to or dilutive of the
13
     Amazon Trademarks.
14
            124.    Amazon is entitled to actual damages under 15 U.S.C. § 1117(a), or in the
15
     alternative, statutory damages under 15 U.S.C. § 1125(d)(1).
16
            125.    Amazon is entitled to have ownership of the domain echoalexaskill.com
17
     transferred to it, or in the alternative to have this domain forfeited or cancelled.
18
            126.    Amazon is further entitled to injunctive relief, as set forth in the Prayer for Relief
19
     below. In addition to the significant harm that Defendants have caused to innocent customers,
20
     Defendants’ acts have caused irreparable injury to Amazon. The injury to Amazon is and
21
     continues to be ongoing and irreparable. An award of monetary damages cannot fully
22
     compensate Amazon for its injuries, and Amazon lacks an adequate remedy at law.
23
                                      VI.     PRAYER FOR RELIEF
24
            WHEREFORE, Amazon respectfully prays for the following relief:
25
            A.      That the Court enter judgment in favor of Amazon on all claims;
26
            B.      That the Court issue an order permanently enjoining Defendants, their officers,
27

     COMPLAINT - 33                                                                   Davis Wright Tremaine LLP
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              Case 2:20-cv-00694-MJP Document 1 Filed 05/06/20 Page 34 of 46




 1   agents, representatives, employees, successors and assigns, and all others in active concert or

 2   participation with them, from:

 3                  (i)     Using the Amazon Trademarks in connection with any technology support

 4                          services, or sale of goods or services;

 5                  (ii)    Registering domains that include, are confusingly similar to, or dilutive of,

 6                          the Amazon Trademarks;

 7                  (iii)   Using any other indication of Amazon’s brand in connection with any sale

 8                          of goods or technology support services;

 9                  (iv)    Making any statement of an affiliation or connection to Amazon in

10                          connection with any sale of goods or technology services; or

11                  (v)     Assisting, aiding, or abetting any other person or business entity in

12                          engaging or performing any of the activities referred to in the

13                          subparagraphs above;

14          C.      That the Court enter an order requiring Defendants to provide Amazon a full and

15   complete accounting of all gross and net proceeds earned from innocent victims, including an

16   identification of those victims;

17          D.      That Defendants’ profits earned from innocent customers, as alleged in this

18   Complaint, be disgorged pursuant to 15 U.S.C. § 1117(a);

19          E.      That Defendants be required to pay all actual damages which Amazon has

20   sustained, or will sustain, as a consequence of Defendants’ unlawful acts, and that such damages

21   be trebled as provided for by 15 U.S.C. § 1117(a)–(b), or otherwise allowed by law;

22          F.      That, instead of actual damages, Defendants be required to pay the maximum

23   amount of statutory damages for their infringement of the Amazon Trademarks pursuant to

24   15 U.S.C. § 1117(c);

25          G.      As this is an exceptional case, that Defendants be required to pay the costs of this

26   action and the reasonable attorneys’ fees incurred in prosecuting this action, as provided for by

27   15 U.S.C. § 1117, or otherwise by law; and

     COMPLAINT - 34                                                                Davis Wright Tremaine LLP
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             Case 2:20-cv-00694-MJP Document 1 Filed 05/06/20 Page 35 of 46




 1          H.     That the Court grant Amazon such other, further, and additional relief as the

 2   Court deems just and equitable.

 3          DATED this 6th day of May, 2020.

 4                                                   DAVIS WRIGHT TREMAINE LLP
                                                     Attorneys for Amazon.com, Inc.
 5

 6                                                   By s/ Bonnie E. MacNaughton _____
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     COMPLAINT - 35                                                              Davis Wright Tremaine LLP
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Case 2:20-cv-00694-MJP Document 1 Filed 05/06/20 Page 36 of 46




             EXHIBIT A
Case 2:20-cv-00694-MJP Document 1 Filed 05/06/20 Page 37 of 46
Case 2:20-cv-00694-MJP Document 1 Filed 05/06/20 Page 38 of 46




             EXHIBIT B
Case 2:20-cv-00694-MJP Document 1 Filed 05/06/20 Page 39 of 46
Case 2:20-cv-00694-MJP Document 1 Filed 05/06/20 Page 40 of 46
Case 2:20-cv-00694-MJP Document 1 Filed 05/06/20 Page 41 of 46
Case 2:20-cv-00694-MJP Document 1 Filed 05/06/20 Page 42 of 46
Case 2:20-cv-00694-MJP Document 1 Filed 05/06/20 Page 43 of 46




             EXHIBIT C
Case 2:20-cv-00694-MJP Document 1 Filed 05/06/20 Page 44 of 46
Case 2:20-cv-00694-MJP Document 1 Filed 05/06/20 Page 45 of 46
Case 2:20-cv-00694-MJP Document 1 Filed 05/06/20 Page 46 of 46
